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            3.   Defendant Jaguar Land Rover North America, LLC is a Delaware corporation with

a principal place of business at 100 Jaguar Land Rover Way, Mahwah, NJ 07495. Jaguar Land

Rover North America, LLC transacts business in the State of Louisiana and the Eastern District of

Louisiana, and may be served through its registered agent for service of process, Corporation

Service Company, 501 Louisiana Avenue, Baton Rouge, Louisiana 70802.

            4.   Upon information and belief, Jaguar Land Rover North America, LLC is a wholly

owned subsidiary of Jaguar Land Rover Limited. Upon further information and belief, Jaguar Land

Rover North America, LLC is, and at all times relevant to this action was, in the business of

designing, manufacturing, testing, marketing, and distributing vehicles including the 2020 Land

Rover Discovery, VIN SALRU2RV5L2422191 (hereinafter the “Subject Vehicle”) that included

various product defects described below and which has caused injuries to Plaintiffs.

            5.   Defendant Jaguar Land Rover Limited is a limited company located in the United

Kingdom at Abbey Road Whitley Coventry, CV3 4LF United Kingdom. Jaguar Land Rover

Limited does business, itself, or through its subsidiaries and affiliates, in the State of Louisiana

and the Eastern District of Louisiana. Jaguar Land Rover Limited is, on information and belief,

the entity that designed, manufactured and shipped the vehicle which injured Plaintiffs to the

United States, State of Louisiana and Eastern District of Louisiana.

            6.   Upon information and belief, Jaguar Land Rover North America, LLC and Jaguar

Land Rover Limited, (collectively “Jaguar Land Rover” or “Defendants” or “Defendant Jaguar

Land Rover”) are in the business of designing, testing, manufacturing, marketing, servicing, and

supplying automobiles within the United States.




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                                  JURISDICTION AND VENUE


            7.   The Court has diversity jurisdiction over this cause of action pursuant to 28 U.S.C.

Section 1332(a)(1) because the matter in controversy exceeds the sum of $75,000 and is between

citizens of different states.

            8.   The Court has general and/or specific personal jurisdiction over Defendants

because Defendants maintain continuous and systematic contacts with the State of Louisiana.

Indeed, Defendants’ products saturate the roads of Louisiana. Defendants’ operations in Louisiana

are so substantial and are of such a nature that they are sufficient to render Defendants “at home”

in Louisiana. To that end, Defendants or their directly-affiliated entities solicit sales in Louisiana

and continuously hold themselves out as conducting business in Louisiana through advertisements.

Defendants’ continuous and systematic activities in Louisiana also include: constantly operating

numerous dealerships in Louisiana; directly importing, marketing, and selling thousands of

products to the citizens of Louisiana annually; advertising its automobiles and other products,

including the safety features of those products, to the citizens of Louisiana on a daily basis;

maintaining those products for the citizens of Louisiana; realizing millions of dollars in annual

sales in Louisiana; maintaining (since 1987) a registration with the Louisiana Secretary of State

and identifying a principal place of business in this State; and maintaining registered agents for

service of process in Louisiana. More specifically, Defendants operate a Land Rover dealership in

Jefferson Parish from which Plaintiff Adam Levanway leased the Subject Vehicle relevant to this

action.

            9.   Whether personal jurisdiction is based upon a general or specific jurisdictional

theory, Defendants are not being haled into court as the result of random or fortuitous conduct, or

as the result of the unilateral activity of any other person or third person. Rather, Defendants are


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being brought into court in the State of Louisiana as a direct result of their efforts to avail

themselves of the benefits and privileges of conducting business in the State of Louisiana, where

the Subject Vehicle foreseeably caused injury as a proximate result of the defects in said vehicle.

            10.   Under either a general or specific jurisdictional theory, the exercise of personal

jurisdiction over Defendants within the State of Louisiana does not offend traditional notions of

fair play and substantial justice or any other requirement of due process.

            11.   Venue is proper in this Court pursuant to 28 U.S.C. 1391(b)(2) as a substantial part

of the events or omission giving rise to the claims brought herein occurred in this judicial district.


                                    GENERAL ALLEGATIONS

            12.   On February 1, 2020, Plaintiff Adam Levanway entered into a Lease Agreement

with Land Rover New Orleans, leasing the Subject Vehicle, a 2020 Land Rover Discovery,

manufactured by Defendants for the use of his wife, Plaintiff Jordan Levanway. The Subject

Vehicle was new at that time.

            13.   Upon information and belief, the Subject Vehicle and/or its components possessed

one or more defects in design, manufacture, or otherwise, which were either known or should have

been known by Defendants. The defect(s) substantially caused Plaintiffs’ injuries as more fully

described herein.

            14.   The design and/or manufacture of the Subject Vehicle—as well as other similar

vehicles manufactured, designed and/or sold by Defendants—was defective in that it contained an

electronic gear selector that has an unfamiliar movement that is not intuitive and that provides poor

tactile and visual feedback to drivers, increasing the potential for unintended gear selection and

vehicle rollaway (the “Defective Gear Selector”).




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            15.   Drivers could exit the Subject Vehicle—as well as other similar vehicles

manufactured, designed and/or sold by Defendants—when the engine is running and the

transmission is not in PARK, resulting in unintended vehicle rollaway.

            16.   Further, the Subject Vehicle—as well as other similar vehicles manufactured,

designed and/or sold by Defendants—failed to include sufficient rollaway prevention features as

well as sufficient warning features and/or measures so as to prevent drivers from exiting these

vehicles with the engine running and the transmission not in PARK and/or to avoid vehicle

rollaway.

            17.   Plaintiffs are further informed and believe that the design and/or manufacture of

the Subject Vehicle—as well as other similar vehicles manufactured, designed and/or sold by

Defendants—was defective in that it lacked safety features (which are standard in many other

vehicles, including those manufactured by Defendants) to automatically move the vehicle’s

transmission into PARK when the driver’s door is opened, the seatbelt disengaged and the driver

exits the vehicle.

            18.   At the time the Subject Vehicle was manufactured, or at least by February 21, 2021,

Defendants were aware of dozens of complaints of rollaways, crashes and other incidents

attributable to the defects alleged herein. Nevertheless, Defendants continued to recklessly install

the Defective Gear Selector and exclude the safety features required to prevent vehicle rollaways

and injuries when the driver’s door was opened, the seatbelt disengaged and the transmission was

not placed in PARK.

            19.   Despite their actual knowledge of the defective design and/or manufacture of the

Subject Vehicle and Defective Gear Selector, Defendants failed to timely and/or adequately




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remedy the defective Subject Vehicle and/or Defective Gear Selector and sold the defective

Subject Vehicle.

            20.   On February 21, 2021, Plaintiff Jordan Levanway, 36-weeks pregnant, was

preparing to take her then 3-year-old son,                    , to the local pet store.       ’s car seat

was not installed in the Subject Vehicle as it was recently returned from the Jaguar Land Rover

dealership following an unrelated recall repair.

            21.   Jordan wanted to move the Subject Vehicle from the front to the end of the

driveway to give her husband, Adam Levanway, more room to install the car seat and load their

son into the vehicle. Adam held           on his hip at the end of the driveway waiting for Jordan to

move the Subject Vehicle.

            22.   Jordan started the Subject Vehicle, depressed the brake pedal and turned the

Defective Gear Selector to the REVERSE position. Before removing her foot from the brake pedal,

the backup camera alerted her to something near the rear passenger tire. Jordan immediately put

the Subject Vehicle back into the PARK position and/or into what she and any other reasonable

consumer would reasonably believe to be the PARK position so she could investigate what was

triggering the backup camera warning. Jordan slowly began to exit the vehicle, turning her body

to place her feet on the ground, when the Subject Vehicle spontaneously began rolling backwards

just as she was stepping out of the driver’s side door.

            23.   Jordan attempted to hang on the driver’s side door to protect herself and her unborn

child, but was unable. The force of the Subject Vehicle moving down the driveway knocked Jordan

down, rolled over her, dragged her body down the driveway on the side of the Levanway home

causing severe injuries to Jordan Levanway and her then unborn son,                       .




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            24.      Plaintiffs Adam Levanway and                       observed the above-described

vehicle movements and Plaintiff Jordan Levanway being dragged and run over by the Subject

Vehicle. Adam chased the vehicle down their driveway into the street and to the neighbor’s yard

across-the-street, slammed on the brake pedal and turned the engine off. As a result of the

foregoing injuries to his wife, Jordan Levanway, and the probability of significant injuries to his

unborn son,                         , Plaintiff Adam Levanway suffered serious mental anguish and

emotional distress from the observance of the above-described action of the Subject Vehicle which

was severe, debilitating and foreseeable to a reasonable manufacturer of motor vehicles.

                  likewise suffered serious mental anguish and emotional distress, including nightmares

and extreme fear of the Subject Vehicle and similar looking vehicles, from the observance of the

above-described injuries to his mother.

            25.      Because of Jordan Levanway and her unborn son’s life-threatening injuries, she

was rushed via ambulance to University Medical Center, a Level 1 trauma center. Jordan and her

unborn son’s conditions rapidly declined upon arrival and an emergency cesarean section was

performed to deliver her son,                       , four-weeks early, and further exploratory surgery

was done to explore the abdomen to save Jordan’s life. Immediately after                 ’s delivery at

University Medical Center, he was transferred and admitted to the Neonatal Intensive Care Unit

at Children’s Hospital.

            26.      Prior to the incident at issue in this case, Defendants sent a “Special Service

Message” to all of its dealers acknowledging that the Defective Gear Selector “has erratic or

intermittent operation.” Outrageously, this information was not shared with the general public, and

Plaintiffs received no warning of the defect.




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            27.   Further, prior to the incident at issue in this case, officers and/or managing agents

of Defendants sent internal emails summarizing at least 28 customer-reported incidents of

rollaways caused by the Defective Gear Selector in vehicles manufactured by Defendants. This

information was not shared with the general public, including Plaintiffs.

            28.   Concealing this information unreasonably subjected vehicle operators like Plaintiff

Jordan Levanway and/or occupants to injury and death in the event of foreseeable motor vehicle

use and misuse.

            29.   As a consequence of Defendants’ defective design, manufacture and construction

of the Subject Vehicle, and its failure to warn Jordan and Adam Levanway of the defects in design,

manufacture and construction, Plaintiffs Jordan Levanway and                         each individually

suffered severe, debilitating and permanent injuries from the crash, which injuries otherwise would

not have been incurred or would have been significantly reduced.

            30.   Specifically, the lack of anti-rollaway feature in the Subject Vehicle, including but

not limited to the Defective Gear Selector, along with other components of the vehicle, were

defectively manufactured, designed and constructed so that Plaintiff Jordan Levanway suffered

severe, debilitating and permanent injuries to her body, which damages would not have occurred

had the vehicle not been defectively manufactured, designed and constructed. Moreover, Plaintiffs

were provided with no warning of the defective manufacture, design and construction of the

vehicle and, had they been provided with such notice, would not have leased or driven the Subject

Vehicle.

            31.   At the time the Subject Vehicle left Defendants’ control, there existed an alternative

design for the vehicle which would have prevented Plaintiffs’ injuries. Further, the likelihood that

the Subject Vehicle’s design would cause the Plaintiffs’ damages and the gravity of those damages



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far outweighed the burden on Defendants of adopting such alternative design and the adverse effect

of such alternative design on the utility of the product.


                                                DAMAGES

            32.      As a result of Defendants’ conduct, Jordan Levanway has suffered serious and

permanent injuries, both in the past and in the future, including, physical pain and suffering, mental

anguish, disfigurement, physical impairment, lost earning capacity, past and future medical

expenses, and other damages which will be proven at the trial of this matter. Jordan did not know

and could not have known of the defects in the Subject Vehicle.

            33.      As a result of Defendants’ conduct,                     has suffered serious and

permanent injuries, which have resulted in damages to him both in the past and in the future,

including, physical pain and suffering, mental anguish, past and future medical expenses, and other

damages which will be proven at the trial of this matter.

            34.      As a result of having observed his wife, Jordan Levanway, be struck and run over

by the Subject Vehicle which caused severe injuries to his wife, plaintiff Adam Levanway suffered

severe mental anguish and emotional distress which was debilitating and foreseeable.

            35.      As a result of having observed the severe injuries to his mother, plaintiff

                  suffers with severe mental anguish and emotional distress which is debilitating and

foreseeable, including nightmares and extreme fear of the Subject Vehicle and similar looking

vehicles.

            36.      As a direct and proximate cause of Plaintiff Jordan Levanway’s injuries, Plaintiff

Adam Levanway has suffered loss of consortium, services and support with his wife for which the

Defendants are liable.




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            37.   As a direct and proximate cause of Plaintiff Jordan Levanway’s injuries, both minor

children                    and                   have suffered loss of consortium and physical and

emotional support with their mother for which the Defendants are liable.


    PRODUCTS LIABILITY: UNREASONABLY DANGEROUS IN CONSTRUCTION
        AND COMPOSITION, UNREASONABLY DANGEROUS IN DESIGN
                         AND FAILURE TO WARN
                           L.A. R.S. 9:2800.55-.57

            38.   Plaintiffs allege and incorporate the allegations contained in the foregoing

paragraphs.

            39.   Defendants designed, engineered, manufactured, tested, assembled, marketed,

advertised, inspected, maintained, sold, distributed and constructed the Subject Vehicle.

            40.   Defendants designed, engineered, manufactured, tested, assembled, marketed,

advertised, inspected, maintained, sold, distributed, constructed the Subject Vehicle and placed the

Subject Vehicle on the market and in the stream of commerce which was unreasonably dangerous

to the consumer, knowing that the product would reach and did reach the ultimate consumer

without substantial change in the defective condition it was in on the date it left Defendants’

control.

            41.   Defendants knew or should have known that the ultimate users or consumers of this

product would not, and could not, inspect the vehicle so as to discover the non-obvious defects

hidden from the consumers’ eye as described herein. The Subject Vehicle, including the Defective

Gear Selector was defective when it left the control of Defendants and remained in the same

condition until the time of the incident.

            42.   Defendants knew or should have known of the substantial dangers involved in the

reasonably foreseeable use of the Subject Vehicle, whose defective manufacture, design,



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construction and lack of warnings allowed the Subject Vehicle to cause and/or exacerbate

Plaintiffs’ injuries.

            43.   Plaintiff Jordan Levanway was a reasonably foreseeable user of the Subject

Vehicle.

            44.   The Subject Vehicle was, at the time of Plaintiffs’ injuries, being used in the manner

intended by Defendants, and in a manner that was reasonably foreseeable by Defendants involving

a substantial danger not readily apparent if adequate warning of the dangers were not given.

            45.   At the time that the Subject Vehicle was manufactured by Defendants, the vehicle

contained manufacturing defects which rendered the vehicle unreasonably dangerous and, on

information and belief, the Subject Vehicle was not made in accordance with Defendants’

specifications or performance standards.

            46.   In addition, the Subject Vehicle was defective in construction or composition in

that, when it left the hands of Defendants, it deviated in a material way from Defendants’

specifications or performance standards for the product or from otherwise identical products

manufactured by Defendants.

            47.   The Subject Vehicle was also unreasonably dangerous in design in that, at the time

the vehicle left Defendants’ control, there existed alternative designs for the vehicle that were

capable of preventing Plaintiffs’ damages. For example, Defendants could have incorporated a

software feature to automatically apply the Emergency Parking Brake (“EPB”) immediately when

the driver door is opened and the seatbelt is unbuckled. Defendants could have also incorporated

a software feature to automatically return the transmission to the PARK position when the driver

door is opened and the seatbelt is disengaged.




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            48.   Alternative designs to correct the Subject Vehicle are not only feasible, but were

utilized at the time the Subject Vehicle was designed and manufactured and continues to be utilized

by Defendants and its competitors in other vehicles, and the adoption of an alternative design

would have had no effect on the Subject Vehicle’s overall utility. The adoption of technically

feasible and available alternative designs and/or issue recalls and/or consumer warnings could

have been timely done and can still be done by the Defendants.

            49.   No true burden would be put on Defendants in order to adopt alternative designs or

issue recalls or consumer warnings since safety is of paramount concern for every vehicle and

since related costs are all reasonable in light of the Subject Vehicle’s unreasonably dangerous

propensity to cause serious permanent personal injuries and death.

            50.   Plaintiffs’ injuries are the legal and proximate result of Defendants’ manufacturing

defects, Defendants’ failure to adopt a reasonably feasible alternative design to eliminate the

defects in the vehicle and/or Defendants’ failure to provide adequate warnings of the risks of

substantial harm associated with the foreseeable use of the subject vehicle.

            51.   Plaintiffs are, therefore, entitled to recover damages from Defendants in an amount

to be proven at the trial of this matter.


                                    DEMAND FOR JURY TRIAL
            52.   Plaintiffs are entitled to and request a trial by jury on all counts alleged herein.


                                        PRAYER FOR RELIEF
            WHEREFORE, Plaintiffs, Jordan Levanway and Adam Levanway, individually and on

behalf of their minor children,                     and                  , pray that Defendants be cited

to appear and answer herein, that this cause be set for trial before a jury, and that a judgment issue

in favor of the Plaintiffs and against Defendants, Jaguar Land Rover North America and Jaguar


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Land Rover Limited, for their damages in such amount as the evidence may show and the jury

may determine to be proper, together with pre-judgment interest, post-judgment interest, costs of

suit, and such other and further relief to which they may show themselves to be justly entitled.


Dated: February 17, 2022                     Respectfully submitted,


                                             /s/ Dawn M. Barrios
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